                  Case 2:23-cv-01695-TSZ Document 1 Filed 11/06/23 Page 1 of 5



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 6
                                         UNITED STATES DISTRICT COURT
 7                                      WESTERN DISTRICT OF WASHINGTON
                                                  AT SEATTLE
 8
   GREAT AMERICAN E & S INSURANCE
 9 COMPANY, INDIVIDUALLY, AND AS
   ASSIGNEE OF CLAIMS FROM ITS                            Case No. 2:23-CV-01695
10 INSURED C3 MANUFACTURING LLC, A
   COLORADO COMPANY,                                      NOTICE OF REMOVAL
11
                       Plaintiff,
12
          v.
13
   HOUSTON CASUALTY COMPANY,
14 GORDON REES SCULLY MANSUKHANI,
   LLP, SINARS SLOWIKOWSKI TOMASAKA
15 LLC, J. SCOTT WOOD and CHRISTOPHER
   FURMAN,
16
                       Defendants.
17

18
     TO:      United States District Court for the Western District of Washington at Seattle
19
              PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant
20
     Houston Casualty Company (“HCC”), hereby removes this action from King County Superior
21
     Court to the United States District Court for the Western District of Washington at Seattle. This
22
     Notice of Removal is filed subject to and with full reservation of rights. No admission of fact,
23
     law, or liability is intended by this Notice of Removal and all defenses, motions, and pleas are
24 expressly reserved.

     NOTICE OF REMOVAL (Case No. 2:23-CV-01695) - 1                              Davis Wright Tremaine LLP
     4884-8769-3694v.1 0122352-000001                                                     L AW O FFICE S
                                                                                    920 Fifth Avenue, Suite 3300
                                                                                      Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
                   Case 2:23-cv-01695-TSZ Document 1 Filed 11/06/23 Page 2 of 5



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              In support of this Notice, HCC states as follows:
 2            1.        On September 5, 2023, Plaintiff filed a Complaint against HCC and other

 3 Defendants in King County Superior Court, cause number 23-2-16817-8.

 4            2.        On November 6, 2023, Plaintiff completed service of the Summons and

     Complaint on HCC. A true and correct copy of the Summons and Complaint are attached as
 5
     Exhibit A and Exhibit C to the Declaration of Steven P. Caplow (“Decl.”).
 6
                                    HCC HAS SATISFIED THE PROCEDURAL
 7                                    REQUIREMENTS FOR REMOVAL
 8            3.        This Notice of Removal is timely because Defendant HCC is filing it within 30

 9 days after service of the Summons and Complaint. 28 U.S.C. § 1446(b).
              4.        Venue is proper in the Western District of Washington because the alleged claims
10
     arose in King County, Washington. See 28 U.S.C. § 1441(a).
11
              5.        HCC has not yet filed an Answer, but will do so in compliance with the deadline
12
     set forth in Fed. R. Civ. P 81(c)(2).
13            6.        As required by 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders
14 served on HCC are being concurrently filed today, along with all process, pleadings, and orders

15 filed in the state court action.

16            7.        Notice of this removal will be given to Plaintiff and the Superior Court pursuant

     to 28 U.S.C. § 1446(d).
17
                          THIS ACTION IS REMOVABLE UNDER 28 U.S.C. § 1332.
18
              8.        This action is removable under 28 U.S.C. § 1332 because Plaintiff and HCC are
19
     completely diverse and HCC reasonably anticipates the amount in controversy exceeds $75,000.
20            9.        Plaintiff’s Complaint alleges that Plaintiff is a corporation organized and existing
21 under the laws of the State of Ohio with its principal place of business in Cincinnati, Ohio. Decl.

22 at Exhibit C, ¶ 2.1.

23            10.       Defendant HCC is a Texas corporation with its principal place of business in

     Houston, Texas. Decl., ¶ 7.
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              11.       This is an “action in which the matter in controversy exceeds the sum or value of
 2 $75,000.” 28 U.S.C. § 1332(a). “[A] defendant’s notice of removal need include only a plausible

 3 allegation that the amount in controversy exceeds the jurisdictional threshold. Evidence

 4 establishing the amount is required by § 1446(c)(2)(B) only when the plaintiff contests, or the
     court questions, the defendant’s allegation.” Dart Cherokee Basin Operating Co., LLC v.
 5
     Owens, 135 S. Ct. 547, 554 (2014). In determining the amount in controversy, the court
 6
     considers “all relief a court may grant on that complaint if the plaintiff is victorious,” and the
 7
     “the mere futurity of certain classes of damages [does not preclude] them from being part of the
 8 amount in controversy.” Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 415 (9th Cir. 2018).

 9            12.       Plaintiffs allege claims for breach of contract, violation of Washington’s Insurance

10 Fair Conduct Act, violation of Washington’s Consumer Protection Act, equitable

11 indemnity/subrogation, legal malpractice, and breach of fiduciary duty. Decl. at Exhibit. C, ¶¶
     6.1-11.5. The Complaint seeks damages, sanctions, treble and punitive damages, and attorneys’
12
     fees, interest, and costs. Id., ¶¶ 6.1-11.5.
13
              WHEREFORE, HCC hereby removes the above-entitled action and respectfully gives
14
     notice that the action is removed from the King County Superior Court to the United States
15 District Court for the Western District of Washington at Seattle.

16
              DATED this 6th day of November, 2023.
17
                                                      Davis Wright Tremaine LLP
                                                      Attorneys for Defendant Houston Casualty
18
                                                      Company
19
                                                      By s/ Everett W. Jack
                                                        Everett W. Jack, WSBA No. 47076
20
                                                        1300 SW Fifth Ave., Suite 2400
                                                        Portland, OR 97201
21
                                                        Telephone: (503) 241-2300
                                                        Facsimile: (503) 778-5299
22
                                                        everettjack@dwt.com
23

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 1                                           By s/ Steven P. Caplow
                                               Steven P. Caplow, WSBA #19843
 2                                             stevencaplow@dwt.com
                                               920 Fifth Avenue, Suite 3300
 3                                             Seattle, WA 98104-1610
                                               P: (206) 622-3150
 4                                             F: (206) 757-7700
                                               stevencaplow@dwt.com
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                  Case 2:23-cv-01695-TSZ Document 1 Filed 11/06/23 Page 5 of 5



 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify that on 6th day of November, 2023, I electronically filed the foregoing

 3 document with the Clerk of the Court using the CM/ECF system which will send notification of

 4 such filing to the below attorney of record for plaintiff.

 5
              Mark Johnson, WSBA No. 8463
 6            Michael Sprangers, WSBA No. 45501
              JOHNSON FLORA SPRANGERS PLLC
 7            2001 Western Ave., Suite 205
              Seattle, WA 98121
 8            206-386-5566
              mark@johnsonflora.com
 9            michael@johnsonflora.com

10            Attorneys for Great American E & S Insurance Company

11
              DATED this 6th day of November, 2023.
12

13                                                     By s/ Everett W. Jack, Jr.
                                                          Everett W. Jack, WSBA No. 47076
14                                                        Steven P. Caplow, WSBA No. 19843

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